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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )         4:06CR3023
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )   MEMORANDUM AND ORDER
                                          )
SHAWN TULL,                               )
                                          )
                   Defendant.             )

     Before I sentence him, the defendant is in need of a thorough medical and
mental evaluation. I next briefly explain why that is so.

      Shawn Tull (Tull) is a 37-year old black male who is 6'2" tall and weighs 190
pounds. He was born in Guyana and is a permanent resident of this country. He has
been married three times, went to the 11th grade in school, and he has a spotty
employment record. A jury found Tull guilty of possession with intent to distribute
309 kilos of marijuana.

       He has no criminal history that may be counted under the advisory Guidelines.
His advisory Guidelines range for prison purposes is 78 to 97 months. That
calculation is in part based upon a 2-point enhancement for being a manager of the
group that committed the crime. Tull, at the direction of the leader, did several
things indicative of an enhanced role in the offense. That activity included bringing
another person into the jointly undertaken criminal activity and buying the vehicle
that was used to commit the crime.

      At sentencing, Tull’s lawyer advised me that he was having trouble with the
defendant. The lawyer advised that he had arranged an appointment with a clinical
psychologist, but Tull, while polite and otherwise communicative, refused to
cooperate with the psychologist. I inquired further.
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      I questioned Tull and learned that Tull has a history of grand mal seizures.
Those seizures typically occur during sleep, and Tull believed he last experienced
such a seizure two months ago. I noticed that Tull stuttered slightly and appeared to
have some difficulty forming words. He admitted that he had not cooperated with the
psychologist, but gave no understandable reason for the lack of cooperation.

       Tull was clearly oriented as to time, place and person. He also had a basic
understanding of the legal proceedings and the roles of defense counsel, the
prosecutor and the judge. Although he has been in custody since the conclusion of
the trial, he was well groomed.

       Tull’s twin brother, who is a licensed and practicing psychiatric social worker
in New York, holding a masters degree, testified that Tull, although otherwise
competent, basically shuts down when he is frightened, that he is easily influenced,
that he has long suffered from a seizure disorder (the etiology of which is unknown),
that the seizure disorder first appeared in childhood when the defendant was living
in Guyana, and that the defendant is not currently taking seizure medications because
those medications make the situation worse. According to the brother, Tull also has
serious learning deficits apparently related to the seizure disorder.

       Tull’s brother also stated that Tull had worked steadily in Minnesota during
much of the last three years, that he performed factory work, that he was a good
worker, and that he worked long hours. Nonetheless, Tull suddenly quit his job
without explanation. At the time of the commission of the offense, Tull’s brother was
attempting to have the Social Security administration award Tull supplemental social
security income (SSI).

       As the hearing was coming to an end, Tull appeared to experience a “panic
attack.” He had difficult breathing and talking. In my opinion, Tull’s discomfort
was real and not feigned. The panic attack subsided after Tull was allowed to stand,
breath deeply and receive calming reassurance from his brother and his lawyer.

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      Under these circumstances, and on my own motion, but with the agreement of
both parties,

      IT IS ORDERED that:

      1.    The United States Bureau of Prisons shall designate a medical
      center for federal prisoners at which the defendant shall be examined
      pursuant to this order. Upon such designation, the defendant, who is in
      custody, shall be transported to the place designated by the Bureau of
      Prisons by the U.S. Marshal. The defendant shall remain at the medical
      center until released to the U.S. Marshal for return to Nebraska.

      2.     Pursuant to 18 U.S.C.§ 3552(b)&(c) and 18 U.S.C. §4244(b), the
      Bureau of Prisons shall evaluate the defendant and advise me in writing
      regarding the following matters: (a) the present medical status of the
      defendant, with particular emphasis on the defendant’s neurological
      condition; (b) the present mental status of the defendant, with particular
      emphasis on the defendant’s cognitive capacity and the defendant’s
      ability to assist, and communicate with, his lawyer; (c) applying
      U.S.S.G. § 5K2.13, whether the defendant committed the instant offense
      while suffering from significantly reduced mental capacity and, if so, the
      nature and extent of the diminished capacity; and (d) applying U.S.S.G.
      § 3B1.1(c), whether it is likely that the defendant possessed the mental
      capacity to serve as manager of the jointly undertaken criminal activity
      and, also, whether, at the time of the commission of the offense, the
      defendant’s mental status rendered him unusually susceptible to
      suggestion or manipulation by others. Unless extended by a subsequent
      order, the evaluation shall be submitted to the court and counsel within
      60 days of the defendant being delivered to the medical center.




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     3.     The defendant’s counsel shall promptly provide the probation
     officer with copies of any evaluations or medical records counsel has in
     his possession.

     4.     The probation officer assigned to this case (Kelly T. Nelson) is
     requested to facilitate the implementation of this order and coordinate
     this case with the Bureau of Prisons. The probation officer shall provide
     the medical center with all materials the officer believes will assist the
     medical center in conducting the evaluation, including the presentence
     report.

     5.     My chambers shall provide a copy of this memorandum and order
     to the probation officer and the United States Marshals Service.

     6.    Sentencing is continued until further order of the court. My
     chambers will calendar this matter for internal review no later than 90
     days from this date.

     7.      Upon receipt of the written report from the Bureau of Prison, I
     will give the parties an opportunity to submit additional motions or
     briefs.

     March 19, 2007.                  BY THE COURT:

                                      s/ Richard G. Kopf
                                      United States District Judge




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